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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                       Case No. 4:12-CR-278-BLW
                Plaintiff,

       v.                                              ORDER


JUAN CARLOS GARCIA, et al.,

                Defendants.


       Defendant Garcia filed a motion to continue that was granted, and his trial date was

extended to April 1, 2013. On January 16, 2013, Garcia’s co-defendants Echevarria and

Rodriguez were arraigned and their trial date was set for March 4, 2013.

       Although Garcia’s trial date of April 1, 2013, is beyond the 70-day Speedy Trial limit for

defendants Echevarria and Rodriguez, who were arraigned on January 16, 2013, nevertheless,

Garcia’s trial date applies to all defendants. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6),

excludable time exists for “a reasonable period of delay when the defendant is joined for trial

with a co-defendant as to whom the time for trial has not run and no motion for severance has

been granted.” The Court finds this to be a reasonable period of delay. Accordingly, the

Court finds that the trial date of April 1, 2013, shall apply to all defendants.

       NOW THEREFORE IT IS HEREBY ORDERED, that the prior trial date for

defendants Echevarria and Rodriguez of March 4, 2013 is VACATED and that trial is

reset for April 1, 2013, at 1:30 p.m. in the Federal Courthouse in Pocatello Idaho.

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This trial date applies to all defendants.

       IT IS FURTHER ORDERED, that all defendants will be on the same Speedy Trial

Act clock because the same excludable time finding under the Speedy Trial Act that

applied to defendant Garcia shall apply to all defendants.

       IT IS FURTHER ORDERED, that the telephone pretrial conference for all

defendants shall be on March 21, 2013, at 4:00 pm. As only logistics will be discussed,

the defendants need not appear. The Government shall set up the conference call.

                                             DATED: January 22, 2013



                                             B. LYNN WINMILL
                                             Chief Judge
                                             United States District Court




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